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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,
      Plaintiff

          v.                                                  Criminal No. 08-163 (ADC)

 [2] RAMON RAMOS-DAVIS,
      Defendant.

                                                ORDER

      The record shall reflect that defendant’s request for a Carbone Hearing and suppression

of some audio recordings was timely addressed. The recordings at issues (N-1, N-3, N-6 and

N-8) were examined and subsequently Magistrate-Judge Marcos E. López filed a Report and

Recommendation recommending that defendant’s request be granted in part and denied in

part. Docket No. 178. No objections were filed by either party on or before the due date of

August 15, 2008.

      In view that the Magistrate-Judge’s Report submitted a reasonable and sound

recommendation, the same is adopted by the Court1.

      SO ORDERED.

      At San Juan, Puerto Rico, this 2nd day of February, 2009.



                                                      S/AIDA M. DELGADO-COLON
                                                      United States District Judge




      1
          Issues addressed without objections at a prior status conference.
